Case 2:23-cv-00479-JRG Document 1-4 Filed 10/12/23 Page 1 of 27 PageID #: 61




                     Exhibit 4
                Case 2:23-cv-00479-JRG Document 1-4 Filed 10/12/23 Page 2 of 27 PageID #: 62




         Infringement Claim Chart for U.S. Pat. No. US7336375B1 v. SCANTECH (“Defendant”)
       Claim1                                                  Evidence

1. A system for         The SCANTECH SIMSCAN 3D Scanner is system for acquiring an approximation of a
acquiring an            surface geometry of a 3-dimensional object within a 3-dimensional object coordinate
approximation of a      system in known relationship to the object.
surface geometry of
a 3-dimensional         For example, the SIMSCAN 3D Scanner is a 3D scanning device for measuring the
object within a 3-      three-dimensional shape of an object using projected light patterns and a camera
dimensional object      system.
coordinate system in
known relationship to
the object, wherein
the system
comprises:




                        Source: https://www.3d-scantech.com/product/simscan-3d-scanner/

                                                     1
Case 2:23-cv-00479-JRG Document 1-4 Filed 10/12/23 Page 3 of 27 PageID #: 63




        Source: https://www.3d-scantech.com/product/simscan-3d-scanner/




        Source: https://www.3d-scantech.com/product/simscan-3d-scanner/



                                     2
Case 2:23-cv-00479-JRG Document 1-4 Filed 10/12/23 Page 4 of 27 PageID #: 64




        Source: https://www.3d-scantech.com/product/simscan-3d-scanner/




        Source: https://www.3d-scantech.com/product/simscan-3d-scanner/



                                     3
Case 2:23-cv-00479-JRG Document 1-4 Filed 10/12/23 Page 5 of 27 PageID #: 65




        Source: https://www.3d-scantech.com/product/simscan-3d-scanner/




        Source: https://www.youtube.com/watch?v=C0G85knXoSQ




                                     4
              Case 2:23-cv-00479-JRG Document 1-4 Filed 10/12/23 Page 6 of 27 PageID #: 66




                      Source: https://www.youtube.com/watch?v=C0G85knXoSQ

a non-contact         The SCANTECH SIMSCAN 3D Scanner includes a non-contact scanner.
scanner, including:
                      For example, the SIMSCAN 3D Scanner includes scanner head that projects a series
                      of light patterns (e.g. parallel stripes) onto the scan target. When light projects onto
                      the object's surface, the patterns become distorted. The camera system captures
                      these images and sends them for processing to a computer executing 3D scanning
                      software.




                                                   5
Case 2:23-cv-00479-JRG Document 1-4 Filed 10/12/23 Page 7 of 27 PageID #: 67




        Source: https://www.youtube.com/watch?v=C0G85knXoSQ




        Source: https://www.youtube.com/watch?v=C0G85knXoSQ




        Source: https://www.3d-scantech.com/product/simscan-3d-scanner/




                                     6
Case 2:23-cv-00479-JRG Document 1-4 Filed 10/12/23 Page 8 of 27 PageID #: 68




        Source: https://www.3d-scantech.com/product/simscan-3d-scanner/




        Source: https://www.3d-scantech.com/product/simscan-3d-scanner/




                                     7
Case 2:23-cv-00479-JRG Document 1-4 Filed 10/12/23 Page 9 of 27 PageID #: 69




        Source: https://www.3d-scantech.com/the-latest-version-of-the-handheld-3d-laser-
        scanner/



                                     8
              Case 2:23-cv-00479-JRG Document 1-4 Filed 10/12/23 Page 10 of 27 PageID #: 70




                       Source: https://www.3d-scantech.com/3d-scanning-what-it-is-how-it-works-and-
                       where-it-can-be-used-in-manufacturing-part-1/




                       Source: https://www.3d-scantech.com/3d-scanning-what-it-is-how-it-works-and-
                       where-it-can-be-used-in-manufacturing-part-1/

a source of            The non-contact scanner of the SCANTECH includes a source of structured light.
structured light;
                       For example, the non-contact scanner includes a light source (e.g. blue light LED)
                       that projects a series of light patterns onto the scan target.




                                                   9
Case 2:23-cv-00479-JRG Document 1-4 Filed 10/12/23 Page 11 of 27 PageID #: 71




         Source: https://www.youtube.com/watch?v=C0G85knXoSQ




         Source: https://www.youtube.com/watch?v=C0G85knXoSQ



                                     10
Case 2:23-cv-00479-JRG Document 1-4 Filed 10/12/23 Page 12 of 27 PageID #: 72




         Source: https://www.3d-scantech.com/product/simscan-3d-scanner/




         Source: https://www.youtube.com/watch?v=_3AxXhu05ys




                                     11
             Case 2:23-cv-00479-JRG Document 1-4 Filed 10/12/23 Page 13 of 27 PageID #: 73




                      Source: https://www.3d-scantech.com/product_category/handheld-3d-scanner/




                      Source: https://www.3d-scantech.com/3d-scanning-what-it-is-how-it-works-and-
                      where-it-can-be-used-in-manufacturing-part-1/

an imaging electro-   The non-contact scanner of the SCANTECH SIMSCAN 3D Scanner includes an imaging

                                                  12
              Case 2:23-cv-00479-JRG Document 1-4 Filed 10/12/23 Page 14 of 27 PageID #: 74




optical sensor;        electro-optical sensor.

                       For example, the non-contact scanner includes a camera system. The camera system
                       includes an electro-optical image sensor (e.g. CMOS or CCD image sensor depending
                       on the model) that captures the patterns of the light projected onto the target object.




                       Source: https://www.youtube.com/watch?v=_3AxXhu05ys




                       Source: https://www.aniwaa.com/review/3d-scanners/scantech-simscan-review-

                                                   13
             Case 2:23-cv-00479-JRG Document 1-4 Filed 10/12/23 Page 15 of 27 PageID #: 75




                      compact-versatile-powerful/
an image processor;   The non-contact scanner of the SCANTECH SIMSCAN 3D Scanner includes an image
                      processor.

                      For example, the non-contact scanner includes an image processor for processing the
                      images of light patterns captured by the camera system.




                      Source: https://www.youtube.com/watch?v=C0G85knXoSQ




                                                  14
Case 2:23-cv-00479-JRG Document 1-4 Filed 10/12/23 Page 16 of 27 PageID #: 76




         Source: https://www.3d-scantech.com/product/simscan-3d-scanner/




         Source:      https://www.3d-scantech.com/airgo-pro-new-superpower-for-wireless-3d-
         scanning/




                                     15
             Case 2:23-cv-00479-JRG Document 1-4 Filed 10/12/23 Page 17 of 27 PageID #: 77




                      Source: https://www.3d-scantech.com/3d-scanning-what-it-is-how-it-works-and-
                      where-it-can-be-used-in-manufacturing-part-1/

a wireless data       The non-contact scanner of the SCANTECH SIMSCAN 3D Scanner includes a wireless
transmitter; and      data transmitter.

                      For example, the non-contact scanner paired with wireless communication link which
                      includes a wireless transmitter (e.g. Bluetooth/wi-fi) for transmitting data associated
                      with the captured images to a processor system.




                      Source: https://www.3d-scantech.com/product/simscan-3d-scanner/




                                                  16
Case 2:23-cv-00479-JRG Document 1-4 Filed 10/12/23 Page 18 of 27 PageID #: 78




         Source: https://www.3d-scantech.com/airgo-pro-new-superpower-for-wireless-3d-
         scanning/




         Source:      https://www.3d-scantech.com/airgo-pro-new-superpower-for-wireless-3d-
         scanning/




                                     17
              Case 2:23-cv-00479-JRG Document 1-4 Filed 10/12/23 Page 19 of 27 PageID #: 79




                        Source:      https://www.3d-scantech.com/airgo-pro-new-superpower-for-wireless-3d-
                        scanning/




                        Source: https://www.3d-scantech.com/product/airgo-smart-module/

at least one position   The non-contact scanner of the SCANTECH SIMSCAN 3D Scanner includes at least one
indicator;              position indicator.

                        For example, the non-contact scanner includes a position indicator for indicating the
                        position at which a light pattern image was captured in relation to the target object.


                                                    18
             Case 2:23-cv-00479-JRG Document 1-4 Filed 10/12/23 Page 20 of 27 PageID #: 80




                      Source: https://www.youtube.com/watch?v=C0G85knXoSQ




                      Source: https://www.3d-scantech.com/3d-scanning-what-it-is-how-it-works-and-
                      where-it-can-be-used-in-manufacturing-part-1/




a scanner tracking    The SCANTECH SIMSCAN 3D Scanner includes a scanner tracking subsystem

                                                  19
             Case 2:23-cv-00479-JRG Document 1-4 Filed 10/12/23 Page 21 of 27 PageID #: 81




subsystem               configured to determine essentially continuously the 3D position of the non-contact
configured to           scanner as well as the 3D position of the structured light at the times when the
determine essentially   imaging electro-optical sensor acquires an image.
continuously the 3D
position of the non-    For example, a scanner tracking subsystem is used to track the position of the non-
contact scanner as      contact scanner as it is moved from an initial position to other positions to capture
well as the 3D          light pattern images from different locations around the target object.
position of the
structured light at
the times when the
imaging electro-
optical sensor
acquires an image;




                        Source: https://www.3d-scantech.com/3d-scanning-what-it-is-how-it-works-and-
                        where-it-can-be-used-in-manufacturing-part-1/




                        Source: https://www.3d-scantech.com/3d-scanning-what-it-is-how-it-works-and-
                        where-it-can-be-used-in-manufacturing-part-1/




                                                   20
             Case 2:23-cv-00479-JRG Document 1-4 Filed 10/12/23 Page 22 of 27 PageID #: 82




                      Source: https://www.3d-scantech.com/3d-scanning-what-it-is-how-it-works-and-
                      where-it-can-be-used-in-manufacturing-part-1/




                      Source: https://www.3d-scantech.com/3d-scanning-what-it-is-how-it-works-and-
                      where-it-can-be-used-in-manufacturing-part-1/

a wireless data       The SCANTECH SIMSCAN 3D Scanner includes a wireless data receiver configured to
receiver configured   receive data transmitted from the wireless data transmitter.

                                                  21
             Case 2:23-cv-00479-JRG Document 1-4 Filed 10/12/23 Page 23 of 27 PageID #: 83




to receive data
transmitted from the   For example, a wireless receiver (e.g. wIfi/Bluetooth) is used for receiving data
wireless data          associated with the captured images to provide the data to a computer for further
transmitter; and       processing.




                       Source: https://www.3d-scantech.com/product/simscan-3d-scanner/




                       Source: https://www.3d-scantech.com/airgo-pro-new-superpower-for-wireless-3d-
                       scanning/




                                                  22
              Case 2:23-cv-00479-JRG Document 1-4 Filed 10/12/23 Page 24 of 27 PageID #: 84




                         Source:     https://www.3d-scantech.com/airgo-pro-new-superpower-for-wireless-3d-
                         scanning/




                         Source:     https://www.3d-scantech.com/airgo-pro-new-superpower-for-wireless-3d-
                         scanning/

a computer, in           The SCANTECH SIMSCAN 3D Scanner includes a computer, in communication with the
communication with       receiver, configured to correlate each received datum temporally with a
the receiver,            corresponding 3D scanner position, to transform the data into coordinates relative to
configured to            the object coordinate system according to the corresponding position of the scanner,
correlate each           and to accumulate the transformed coordinates as 3-dimensional surface points to
received datum           model the object virtually.
temporally with a
corresponding 3D         For example, the computer calculates the X-Y-Z coordinate points of the entire
scanner position, to     surface geometry of the target object from the light pattern images as the light
transform the data       pattern shifts from the initial position. Algorithms align every scan image
into coordinates         automatically to create a highly accurate, complete 3D digital model of the object.
relative to the object
coordinate system
according to the
corresponding
position of the
scanner, and to
accumulate the
transformed
coordinates as 3-
dimensional surface

                                                    23
             Case 2:23-cv-00479-JRG Document 1-4 Filed 10/12/23 Page 25 of 27 PageID #: 85




points to model the
object virtually.
                      Source: https://www.3d-scantech.com/5-things-to-know-when-choosing-handheld-3d-
                      scanners/




                      Source: https://www.3d-scantech.com/the-latest-version-of-the-handheld-3d-laser-
                      scanner/




                      Source: https://www.3d-scantech.com/3d-scanning-what-it-is-how-it-works-and-
                      where-it-can-be-used-in-manufacturing-part-1/




                      Source: https://www.3d-scantech.com/3d-scanning-what-it-is-how-it-works-and-

                                                  24
Case 2:23-cv-00479-JRG Document 1-4 Filed 10/12/23 Page 26 of 27 PageID #: 86




         where-it-can-be-used-in-manufacturing-part-1/




         Source: https://www.3d-scantech.com/3d-scanning-what-it-is-how-it-works-and-
         where-it-can-be-used-in-manufacturing-part-1/




         Source: https://www.3d-scantech.com/3d-scanning-what-it-is-how-it-works-and-


                                     25
Case 2:23-cv-00479-JRG Document 1-4 Filed 10/12/23 Page 27 of 27 PageID #: 87




         where-it-can-be-used-in-manufacturing-part-1/




         Source: https://www.3d-scantech.com/wp-content/uploads/2022/10/Scantech-3D-
         Scanner-Lineup.pdf




         Source: https://www.3d-scantech.com/wp-content/uploads/2022/08/SIMSCAN-
         Portable-Blue-Laser-3D-Scanner-Brochure-SCANTECH.pdf




                                     26
